                                                  Case 6:14-bk-12175-MJ       Doc 315 Filed 10/05/15 Entered 10/05/15 11:07:14              Desc
                                                                                Main Document    Page 1 of 5


                                                    1   Jeffrey D. Cawdrey (SBN: 120488)
                                                        Megan M. Adeyemo (CO BN: 36271)(admitted Pro Hac Vice)
                                                    2   GORDON & REES LLP
                                                        101 W. Broadway
                                                    3
                                                        Suite 2000
                                                    4   San Diego, CA 92101
                                                        Telephone: (619) 696-6700
                                                    5   Facsimile: (619) 696-7124
                                                    6   Attorneys for Debtor
                                                        S.T. Moll, Inc. d/b/a Integrity Tire
                                                    7

                                                    8                             UNITED STATES BANKRUPTCY COURT
                                                    9                              CENTRAL DISTRICT OF CALIFORNIA
                                                   10                                          RIVERSIDE DIVISION
                                                   11
                    101 W. Broadway, Suite 2000




                                                        In re:                            )               CASE NO. 6:14-BK-12175-MJ
                                                                                          )
                       San Diego, CA 92101




                                                   12                                     )               Chapter 11
Gordon & Rees LLP




                                                                                          )
                                                   13                                     )               NOTICE OF EFFECTIVE DATE OF
                                                        S.T. MOLL, INC.,                  )               PLAN OF REORGANIZATION
                                                   14   D/B/A INTEGRITY TIRE AUTO SERVICE )
                                                        CENTER,                           )               Date: N/A
                                                   15                                     )               Time: N/A
                                                                                          )               Courtroom: 301
                                                   16                                     )               Judge: Meredith A. Jury
                                                                                          )
                                                   17                         Debtor.
                                                   18
                                                   19            PLEASE TAKE NOTICE that the Court entered its Order Confirming Amended Plan of
                                                   20   Reorganization Proposed by Debtor [Docket No. 289] (this “Confirmation Order”) on August 19,
                                                   21   2015. Pursuant to the terms of S.T. Moll, Inc. d/b/a Integrity Tire Auto Service Center’s
                                                   22   (“Debtor”) Amended Plan of Reorganization Proposed by Debtor [Docket No. 264] (the “Plan”),
                                                   23   the Plan became effective on September 30, 2015.
                                                   24            Copies of the Plan and Confirmation Order are available (a) upon submission of a written
                                                   25   request to undersigned counsel for Debtor; (b) for a fee via PACER by visiting
                                                   26   http://www.cacb.uscourts.gov/; or (c) in person at the United States Bankruptcy Court for the
                                                   27   Central District of California, 3420 Twelfth Street, Riverside, California 92501.
                                                   28

                                                                                                       -1-
                                                                           NOTICE OF EFFECTIVE DATE OF PLAN OF REORGANIZATION
                                                  Case 6:14-bk-12175-MJ       Doc 315 Filed 10/05/15 Entered 10/05/15 11:07:14                 Desc
                                                                                Main Document    Page 2 of 5


                                                    1          PLEASE TAKE FURTHER NOTICE that all requests for allowance of an
                                                    2   administrative claim must be filed and served so as to be actually received no later than

                                                    3   November 30, 2015.
                                                    4
                                                               PLEASE TAKE FURTHER NOTICE that effective as of the Effective Date, except as
                                                    5
                                                        otherwise provided in the Plan or Confirmation Order: (a) treatment of all Claims is in full and
                                                    6
                                                        final satisfaction, settlement, release, discharge, and termination of all Claims of any nature
                                                    7
                                                        whatsoever, whether known or unknown, against Debtor, any property of the estate, the
                                                    8
                                                        Reorganized Debtor or property of the Reorganized Debtor whether or not (i) a Proof of Claim
                                                    9
                                                        based upon such Claim, debt, or right is filed or deemed filed pursuant to section 501 of the
                                                   10
                                                        Bankruptcy Code, (ii) a Claim based upon such Claim, liability or obligation is allowed pursuant
                                                   11
                    101 W. Broadway, Suite 2000




                                                        to section 502 of the Bankruptcy Code or (iii) the Holder of such a Claim, liability or obligation
                       San Diego, CA 92101




                                                   12
Gordon & Rees LLP




                                                        has accepted the Plan and (b) all entities are precluded from asserting against Debtor, the Estate,
                                                   13
                                                        the Reorganized Debtor, their successors and assigns, and their assets and properties any other
                                                   14
                                                        Claims based upon any documents, instruments, or any act or omission, transaction, or other
                                                   15
                                                        activity of any kind or nature that occurred prior to the Effective Date
                                                   16
                                                        Dated: October 5, 2015                             GORDON & REES LLP
                                                   17

                                                   18
                                                                                                           By:    /s/ Megan M. Adeyemo
                                                   19                                                             Jeffrey D. Cawdrey
                                                                                                                  Megan M. Adeyemo
                                                   20                                                             Attorneys for Debtor S.T. Moll, Inc.

                                                   21

                                                   22           CERTIFICATE OF SERVICE

                                                   23
                                                               The undersigned hereby certifies that a true copy of the above and foregoing was
                                                   24   electronically filed with the Clerk of the United States Bankruptcy Court using the
                                                        CM/ECF system which will send notification to all counsel of record, and a copy has
                                                   25   been mailed to all parties listed on the below mailing matrix this the 5th day of October,
                                                   26   2015.

                                                   27                                                 /s/ Megan M. Adeyemo
                                                                                                      Gordon & Rees LLP
                                                   28

                                                                                                        -2-
                                                                           NOTICE OF EFFECTIVE DATE OF PLAN OF REORGANIZATION
Label Matrix forCase   6:14-bk-12175-MJ
                 local noticing           Doc   315
                                           Gordon & ReesFiled
                                                         LLP 10/05/15 Entered 10/05/15
                                                                                  Premium11:07:14       Desc Inc.
                                                                                          Performance Enterprises,
0973-6                                       Main   Document
                                           101 W Broadway Ste 2000 Page 3 of 5    c/o Amar M. Hatti, Esq.
Case 6:14-bk-12175-MJ                      San Diego, CA 92101-8221                    Fullerton Lemann Schaefer & Dominick
Central District Of California                                                         215 North D Street, Ste. 100
Riverside                                                                              San Bernardino, CA 92401-1712
Mon Oct 5 09:55:17 PDT 2015
S.T. MOLL, Inc.                            Riverside Division                          Aries & Lockwood
3223 W. Florida Avenue                     3420 Twelfth Street,                        225 W. Hospitality Lane, Suite 314
Hemet, CA 92545-3638                       Riverside, CA 92501-3819                    San Bernardino, CA 92408-3246



Bank of America N.A.,                      (p)CALIFORNIA STATE BOARD OF EQUALIZATION   CALLAHAN AUTO SUPPLY INC
PO Box 15796                               ACCOUNT REFERENCE GROUP MIC 29              DBA NAPA AUTO PARTS
Wilmington, DE 19886-5796                  P O BOX 942879                              1323 W FLORIDA AVE
                                           SACRAMENTO CA 94279-0029                    HEMET CA 92543-3911


CR&R Wast Services                         City of Hemet                               City of San Bernadino
11292 Western Avenue                       445 E. Florida Avenue                       P.O. Box 710
Stanton, CA 90680-2912                     Hemet, CA 92543-4265                        San Bernardino, CA 92402-0710



DS Water                                   DSL West                                    Dish Network
5660 New Northside Drive                   P.O. Box 486                                9601 S. Meridian Blvd.
Suite 500                                  El Dorado Hills, CA 95762                   Englewood, CO 80112-5905
Atlanta, GA 30328-5826


Eastern Municipal Water District           Employment Development Department           Granite Village West L.P.
P.O. Box 8300                              P.O. Box 826880                             c/o Vincent M. Coscino, Esq.
Perris, CA 92572-8300                      Sacramento, CA 94280-0001                   Allen Matkins, et al.
                                                                                       1900 Main Street, Fifth Floor
                                                                                       Irvine, CA 92614-7317

Granite Village West LP                    (p)INTERNAL REVENUE SERVICE                 Katana Racing, Inc
c/o Athena Property Management             CENTRALIZED INSOLVENCY OPERATIONS           dba Wholesale Tire Distributors
41 Corporate Park, Suite 260               PO BOX 7346                                 16201 Commerce Way
Irvine, CA 92606-3105                      PHILADELPHIA PA 19101-7346                  Cerritos CA 90703-2324


Kathy Reed                                 L & M Tire Company, Inc.                    McClanahan’s Tire Recycling (MTR)
30185 Morse Road                           1148 Industrial Avenue                      8585 Banana Avenue
Hemet, CA 92544-9663                       Escondido, CA 92029-1422                    Fontana, CA 92335-3019



NAPA Auto Parts                            O’Reilly Automotive Stores Inc.             O’Reilly Automotive Stores, Inc.
1323 W. Florida Avenue                     c/o Zid & O’Biecunas LLP                    PO Box 1156
Hemet, CA 92543-3911                       14545 Victory Blvd Suite 404                Springfield, MO 65801-1156
                                           Van Nuys CA 91411-4133


Premium Performance Enterprises Inc        SMS Financial LA, LLC                       SMS Financial, LLC
1405 West Rialto Avenue                    Attn: Jonathan Harris, Manager              6829 North 12th Street
San Bernardino, CA 92410-1612              6829 North 12th Street                      Phoenix, AZ 85014-1109
                                           Phoenix, AZ 85014-1109
               Case 6:14-bk-12175-MJ
Service Distributing                               Doc   315California
                                                    Southern     Filed Edison
                                                                       10/05/15 Entered 10/05/15   11:07:14
                                                                                            State Board           Desc
                                                                                                        of Equalization
72-232 Corporate Way                                  Main   Document
                                                    Attn: Bankruptcy          Page 4 of 5   Special Operations Branch, MIC:55
Thousand Palms, CA 92276-3325                        P.O. Box 800                                         PO Box 942879
                                                     Rosemead, CA 91770-0800                              Sacramento CA 94279-0055


Stater Bros. Markets                                 Steven W. Moll                                       The Gas Company
P.O. Box 150                                         3223 W. Florida Avenue                               SoCalGas
San Bernardino, CA 92402-0150                        Hemet, CA 92545-3638                                 P.O. Box 3150
                                                                                                          San Dimas, CA 91773-7150


The Goodyear Tire & Rubber Company                   Top Priority Couriers, Inc.                          United States Trustee (RS)
1144 East Market Street                              1257 Columbia Avenue, Suite D-1                      3801 University Avenue, Suite 720
Akron, OH 44316-1001                                 Riverside, CA 92507-2124                             Riverside, CA 92501-3255



Verizon Legal Compliance                             Verizon Legal Compliance Custodian of Record         Wholesale Tire
Custodian of Record                                  P.O. Box 1001                                        16201 Commerce Way
TXD01613                                             San Angelo, TX 76902-1001                            Cerritos, CA 90703-2324
P.O. Box 1001
San Angelo, TX 76902-1001

Zide & O’Biecunas, LLP                               Gary J Holt                                          Jeffrey D Cawdrey
14545 Victory Blvd.                                  Law Ofcs. of Gary J. Holt                            Gordon & Rees, LLP
Van Nuys, CA 91411-1620                              2356 Moore St.                                       101 W Broadway,Suite 2000
                                                     Suite 104                                            San Diego, CA 92101-8221
                                                     San Diego, CA 92110-3018

Megan M Adeyemo
Gordon & Rees LLP
555 Seventeenth St Ste 3400
Denver, CO 80202-3937




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Board of Equalization                                INTERNAL REVENUE SERVICE
Special Taxes and Fees                               STOP: INSOLVENCY
P. O. Box 942879                                     290 NORTH D STREET
Sacramento, CA 94279                                 SAN BERNARDINO, CA 92401-1734




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Corporate Recovery Associates, LLC                (u)Courtesy NEF                                      (d)Gordon & Rees LLP
                                                                                                          101 W. Broadway, Suite 2000
                                                                                                          San Diego, CA 92101-8221
(u)Tri Business Case
                Services6:14-bk-12175-MJ
                         Inc dba The B.I.T. C   Doc
                                                 (d)DS315
                                                       Water Filed 10/05/15 Entered 10/05/15      11:07:14
                                                                                           (u)Jason B Binford   Desc
                                                   Main   Document           Page
                                                 5660 New Northside Drive Suite 500 5 of 5
                                                 Atlanta, GA 30328-5826



End of Label Matrix
Mailable recipients   45
Bypassed recipients    6
Total                 51
